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 6   Attorneys for Plaintiffs
 7                          IN THE UNITED STATES DISTRICT COURT
 8                                FOR THE DISTRICT OF ARIZONA
 9
     Keystone Wealth Partners, LLC, an                  No. CV-22-00719-PHX-DJH
10   Arizona limited liability company and
     Creative Planning, LLC, a Missouri                 CORPORATE DISCLOSURE
11   limited liability company                          STATEMENT
12                  Plaintiff,
13
     v.
14
     400 Rivulon Boulevard, LLC, an Ohio
15   limited liability company,
16                  Defendant.
17          This Corporate Disclosure Statement is filed on behalf of Creative Planning, LLC in

18   compliance with the provisions of: (check one)

19          __X__ Rule 7.1, Federal Rules of Civil Procedure, a nongovernmental corporate party to

20   an action in a district court must file a statement that identifies any parent corporation and any

21   publicly held corporation that owns 10% or more of its stock or states that there is no such

22   corporation.

23          ____ Rule 12.4(a)(1), Federal Rule of Criminal Procedure, any nongovernmental corporate

24   party to a proceeding in a district court must file a statement that identifies any parent corporation

25   and any publicly held corporation that owns 10% or more of its stock or states that there is no such

26   corporation.

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                                                                                               OP 3228589.2
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 1          ____ Rule 12.4(a)(2), Federal Rule of Criminal Procedure, if an organizational victim of
 2   alleged criminal activity is a corporation the government must file a statement identifying the victim
 3   and the statement must also disclose the information required by Rule 12.4(a)(1).
 4   The filing party hereby declares as follows:
 5          ____ No such corporation.
 6          ____ Party is a parent, subsidiary or other affiliate of a publicly owned corporation as listed
 7   below. (Attach additional pages if needed.)
 8   ______________________________________ Relationship__________________________
 9          ____ Publicly held corporation, not a party to the case, with a financial interest in the
10   outcome. List identity of corporation and the nature of financial interest. (Attach additional pages
11   if needed.)
12   __________________________________________ Relationship______________________
13          __X__ Other (please explain)
14          Party is not a parent, subsidiary or other affiliate of a publicly owned corporation. Party is
15   a wholly-owned subsidiary of CPI Holdco B, LLC, a Delaware limited liability company.
16

17          A supplemental disclosure statement will be filed upon any change in the information
18   provided herein.
19          DATED this 29th day of April, 2022.
20                                                                 SPENCER FANE LLP
21
                                                                   s/ Andrew M. Federhar
22                                                                 Andrew M. Federhar
                                                                   Jessica A. Gale
23                                                                 Attorneys for Plaintiff
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 1
                                CERTIFICATE OF SERVICE
 2
           I hereby certify that on April 29, 2022, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
     Notice of Electronic Filing to the CM/ECF registrants as listed below:
 4
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 5                                       Michael K. Foy
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                                        Boulevard, LLC
14

15                                                               s/ Katrina Thomas
16

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